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                           IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION


 CAMPAIGN LEGAL CENTER;
 AMERICAN CIVIL LIBERTIES UNION
 FOUNDATION OF TEXAS; MEXICAN
 AMERICAN LEGAL DEFENSE AND                         Civil Action No. 1:22-cv-92
 EDUCATIONAL FUND, INC.; LAWYERS
 COMMITTEE FOR CIVIL RIGHTS                         COMPLAINT FOR DECLARATORY
 UNDER LAW; and DEMOS A NETWORK                     AND INJUNCTIVE RELIEF
 FOR IDEAS AND ACTION, LTD.,

                       Plaintiffs,

        v.

 JOHN B. SCOTT, in his official capacity as
 Secretary of State of the State of Texas,

                      Defendants.



       Plaintiffs Campaign Legal Center (“CLC”), American Civil Liberties Union Foundation of

Texas (“ACLU TX”), Mexican American Legal Defense and Educational Fund, Inc.

(“MALDEF”), Lawyers’ Committee for Civil Rights Under Law (“LCCRUL”), and Dēmos: A

Network for Ideas and Action, Ltd. (“Dēmos”) (collectively “PLAINTIFFS”) file this Complaint

for Declaratory and Injunctive Relief against Defendant John B. Scott, in his official capacity as

the Texas Secretary of State (“DEFENDANT SCOTT”), for violation of the public disclosure

provision of the National Voter Registration Act of 1993 (“NVRA”), and allege the following:

                                          INTRODUCTION

       1.       In 2019, Texas implemented a voter purge program using outdated driver’s license

information that disproportionately targeted naturalized U.S. citizens for removal from the voter

rolls. Individuals and organizations affected by the purge program filed three lawsuits alleging



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violations of federal law. Texas ultimately entered into a global settlement agreement limiting its

use of citizenship status information in its voter list maintenance program (the “2019 Settlement

Agreement”).

       2.      Public inspection of states’ voter list maintenance activities is necessary to ensure

that discriminatory practices such as Texas’s 2019 voter purge program do not cancel registrations

of eligible voters. Such public inspection is also mandated by the NVRA.

       3.      The NVRA requires states to maintain accurate and current voter rolls and ensure

that any eligible applicant is registered to vote. In order to enforce compliance with these

requirements, Congress included a public disclosure provision in the NVRA under which states

must make available for public inspection all records concerning the implementation of programs

and activities conducted for the purpose of ensuring the accuracy and currency of official voter

registration lists. 52 U.S.C. § 20507(i).

       4.      In August 2021, pursuant to the 2019 Settlement Agreement, Texas notified

PLAINTIFFS that it was renewing its efforts to use driver’s license data as a basis for removing

registered voters from the voter rolls (“New Voter Purge Program”).

       5.      In August and October 2021, PLAINTIFFS requested records pursuant to the

NVRA. PLAINTIFFS directed their records requests to the Texas Secretary of State, who is

responsible for maintaining a statewide voter list. PLAINTIFFS asked for records showing every

individual identified under the New Voter Purge Program as a potential non-U.S. citizen based on

driver’s license and identification information from the Texas Department of Public of Safety

(“DPS”), as well as the information upon which the Secretary of State relied to make a

determination about each voter’s citizenship status (“Requested Records”).




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        6.       The Secretary of State, DEFENDANT JOHN B. SCOTT, has not produced any

responsive records. In October and November 2021, PLAINTIFFS provided notice to

DEFENDANT SCOTT that his failure to produce the Requested Records violated the NVRA.

More than ninety days have elapsed since DEFENDANT SCOTT received the first notice of his

violation. More than twenty days have elapsed since DEFENDANT SCOTT received the second

notice of his violation, DEFENDANT SCOTT’s violations are ongoing, and the violations

continue to occur within 120 days of Texas’s next election for federal office.

        7.       Having complied with the statutory notice requirement, PLAINTIFFS bring this

suit to enforce their rights under the NVRA.

                                      JURISDICTION AND VENUE

        8.       This action is brought pursuant to 52 U.S.C. § 20510(b), which provides that “[a]

person who is aggrieved by a violation of [the NVRA] may bring a civil action in an appropriate

district court for declaratory or injunctive relief with respect to the violation.”

        9.       This Court has jurisdiction pursuant to 28 U.S.C. § 1331. It also has jurisdiction

under the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, to grant the declaratory relief

requested.

        10.      This Court has personal jurisdiction over DEFENDANT SCOTT in his official

capacity because he is a citizen and elected officer of the State of Texas, and his principal place of

business is in Texas.

        11.      Venue is proper in this district under 28 U.S.C. § 1391(b) because DEFENDANT

SCOTT resides in this judicial district and a substantial part of the events and omissions alleged

occurred in this district.




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       12.      An actual and justiciable controversy exists between PLAINTIFFS and

DEFENDANT SCOTT.

                                                 PARTIES

   A. Plaintiffs

       13.      Campaign Legal Center. PLAINTIFF CAMPAIGN LEGAL CENTER (“CLC”) is

a nonpartisan, nonprofit legal organization that works to strengthen American democracy at all

levels of government. Among other activities, CLC engages in local, state, and federal actions to

ensure the political process is accessible to all citizens, resulting in a representative, responsive,

and accountable government. As part of these activities, CLC conducts research, publishes reports

and articles, and regularly provides expert analysis to the media. CLC is also involved in litigation

throughout the country regarding voting rights matters, campaign finance, redistricting, and

electoral ethics. To support these efforts and to educate the public, CLC regularly seeks

information under the NVRA regarding state voter registration practices.

       14.      American Civil Liberties Union Foundation of Texas. PLAINTIFF AMERICAN

CIVIL LIBERTIES UNION FOUNDATION OF TEXAS (“ACLU TX”) is a nonprofit

organization committed to protecting and advancing civil rights and liberties, including the right

to vote. ACLU TX monitors, reports on, educates in regard to, organizes members and volunteers

in furtherance of, and engages in dialogues with stakeholders regarding voting rights, accessibility,

and equity.

       15.      Mexican American Legal Defense and Educational Fund, Inc. MEXICAN

AMERICAN LEGAL DEFENSE AND EDUCATIONAL FUND, INC. (“MALDEF”) is a

nonpartisan, nonprofit legal organization. Founded in San Antonio, Texas in 1968, MALDEF is

the nation’s leading Latino legal civil rights organization with headquarters in Los Angeles,




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California, and offices throughout the United States. In furtherance of its mission to protect and

defend the rights of all Latinos living in the United States, and the constitutional rights of all

Americans, MALDEF conducts litigation and advocacy in the areas of voting rights, employment,

education, and immigrants’ rights. MALDEF has successfully litigated cases enforcing the

National Voter Registration Act, including Arizona v. ITCA, 570 U.S. 1 (2013).

       16.      Lawyers’ Committee for Civil Rights Under Law. PLAINTIFF LAWYERS

COMMITTEE FOR CIVIL RIGHTS UNDER LAW (“LCCRUL”) is a nonpartisan, nonprofit

organization, that has been at the forefront of the legal struggle to protect and defend the right to

vote, and to ensure that the right is afforded equally to all. Through coordinated and integrated

programs of litigation, voter protection, advocacy and education, the Lawyers' Committee's Voting

Rights Project has had a tremendous positive impact on communities of color, low-income

communities, youth, people with disabilities and other traditionally disenfranchised populations.

Using Section 2 of the 1965 Voting Rights Act, the National Voter Registration Act of 1993, the

14th and 15th Amendments to the U.S. Constitution, and various state laws protecting the right to

vote, the Voting Rights Project litigates matters related to voting rights and redistricting. The

Voting Rights Project regularly files records requests under the NVRA and uses the data gathered

to conduct research and publish reports, articles, and media analyses.

       17.      Dēmos: A Network for Ideas and Action, Ltd. PLAINTIFF DĒMOS: A

NETWORK FOR IDEAS AND ACTION, LTD. (“Dēmos”) is a nonprofit, nonpartisan

organization. Since 2000, Dēmos has worked to create a just, inclusive multiracial America

through a unique combination of research, advocacy, litigation, multi-platform communications,

and deep partnerships with grassroots organizations from across the country. Dēmos—which




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means “the people”—is the root word of democracy. Our name reminds us that America’s power

is derived from the diversity of its people.

   B. Defendant

       18.      DEFENDANT JOHN B. SCOTT is the Secretary of State of Texas and is sued in

his official capacity. DEFENDANT SCOTT is the chief election official of the State of Texas,

Tex. Elec. Code § 31.001(a), and is responsible for “implement[ing] and maintain[ing] a statewide

computerized voter registration list that serves as the single system for storing and managing the

official list of registered voters in the state,” Tex. Elec. Code § 18.061(a). DEFENDANT SCOTT

is also responsible for receiving data from the Texas Department of Public Safety and comparing

it against the statewide voter registration database to “verify the accuracy of citizenship status

information previously provided on voter registration applications,” Tex. Elec. Code § 16.0332(a-

1), and for providing information to county registrars about the citizenship status of registered

voters. DEFENDANT SCOTT initiated the New Voter Purge Program.

                              FEDERAL STATUTORY BACKGROUND

       19.      The U.S. Congress enacted the NVRA in 1993 to “increase the number of eligible

citizens who register to vote,” “enhance[] the participation of eligible citizens as voters,” “protect

the integrity of the electoral process,” and “ensure that accurate and current voter registration rolls

are maintained.” 52 U.S.C. § 20501(b). In enacting the NVRA, Congress found that

“discriminatory and unfair registration laws and procedures can have a direct and damaging effect

on voter participation in elections for Federal office and disproportionately harm voter

participation by various groups, including racial minorities.” 52 U.S.C. § 20501(a)(3).




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       20.      To further its stated goals, the NVRA imposes on states multiple requirements with

respect to voter registration to “ensure that any eligible applicant is registered to vote.” 52 U.S.C.

§ 20507.

       21.      Accurate and complete voter rolls are necessary to guarantee that eligible voters are

properly registered. As part of the NVRA’s overall goal of ensuring that states keep accurate and

complete voter rolls, the NVRA imposes strict transparency requirements. In particular, it requires:

                (1) Each State shall maintain for at least 2 years and shall make
                    available for public inspection and, where available,
                    photocopying at a reasonable cost, all records concerning the
                    implementation of programs and activities conducted for the
                    purpose of ensuring the accuracy and currency of official lists of
                    eligible voters, except to the extent that such records relate to a
                    declination to register to vote or to the identity of a voter
                    registration agency through which any particular voter is
                    registered.

52 U.S.C. § 20507(i)(1) (“Public Disclosure Provision”).

       22.      The Public Disclosure Provision enables the public to monitor states’ compliance

with the NVRA’s requirements and furthers the NVRA’s purpose of ensuring effective, accurate,

and non-discriminatory voter registration practices.

                                    STATEMENT OF FACTS

   A. Texas’s Citizenship Verification Process

       23.      In January 2019 the Texas Secretary of State’s office issued Election Advisory

2019-02 (“Advisory”) announcing a new voter purge program. The Advisory informed county

election officials that the Secretary of State had worked with DPS to identify registered voters who

had provided DPS with documentation showing that the person was not a citizen of the United

States during the process of obtaining a driver’s license or identification card.




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       24.      The Secretary of State informed county election officials that he would provide

them with “matches” obtained through this process and directed those officials to send the

identified voters notice letters requiring them to submit documentary proof of citizenship to

maintain their registration.

       25.      The Advisory further directed county election officials to cancel the voter

registration of any individual who did not provide documentary proof of U.S. citizenship within

thirty (30) days, or for whom the notice letter was returned undeliverable.

       26.      This process was fatally flawed. It relied on records submitted to DPS at the time

an individual obtained his or her state-issued driver's license or personal identification card. DPS

issues Texas driver’s licenses that are valid for up to eight years and Texas personal identification

cards that are valid for up to six years. That stale data often did not reflect the current citizenship

status of individuals on the voter rolls. In Fiscal Year 2019 alone, over 97,000 individuals became

naturalized U.S. citizens in Texas. Many registered to vote and also possessed state-issued driver’s

licenses or personal identification cards issued to them when they were lawful permanent residents.

       27.      Texas’s citizenship verification process therefore not only flagged tens of

thousands of eligible voters for removal from the voter rolls, it did so in a discriminatory fashion.

As one Florida district court explained of a similar program in that state, while it was not

reasonably designed to identify noncitizen voters, it was remarkably well crafted to identify and

penalize newly naturalized citizens who choose to exercise their right to vote. See United States v.

Florida, 870 F. Supp. 2d 1346, 1347-48 (N.D. Fla. 2012).

       28.      Affected voters and civic engagement organizations brought suit in 2019

challenging Texas’s citizenship verification process. The court described the program as one where

“perfectly legal naturalized Americans were burdened with . . . ham-handed and threatening




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correspondence from the state” while “[n]o native born Americans were subjected to such

treatment.” Texas LULAC v. Whitley, No. SA-19-CA-074-FB, ECF 61 at 1-2 (Feb. 27, 2019).

        29.      On April 26, 2019, the Texas Secretary of State entered into the 2019 Settlement

Agreement substantially limiting the State’s ability to use DPS citizenship data in performing list-

maintenance activities.

        30.      The 2019 Settlement Agreement stated that the Secretary of State would identify

only currently registered voters who registered to vote before they presented documents to DPS

indicating non-U.S. citizenship. The 2019 Settlement Agreement further provided that the

Secretary would send to county voter registrars and election administrators only the records of

voters whose effective date of voter registration is prior to, or no more than 30 calendar days after,

the issuance date of the voter’s current driver’s license or personal identification card for which he

or she proved lawful presence but not U.S. citizenship.

        31.      This part of the settlement was later codified by the Texas Legislature. Tex. Elec.

Code § 16.0332(a-1) (“In comparing information under this subsection, the secretary of state shall

consider only a voter's information in the database of the Department of Public Safety that was

derived from documents presented by the voter to the department after the person's current voter

registration became effective, and may not consider information derived from documents

presented by the voter to the department before the person’s current voter registration became

effective.”).

        32.      At the initiation of the New Voter Purge Program and pursuant to paragraph 14 of

the 2019 Settlement Agreement, the Texas Attorney General sent PLAINTIFFS a letter on August

20, 2021, stating that DEFENDANT SCOTT intended to send information identifying 11,197




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registered voters as potential non-U.S. citizens to county voter registrars and elections

administrators.

       33.        DEFENDANT SCOTT purportedly identified these 11,197 registered voters as

potential non-U.S. citizens based on data from DPS.

       34.        According to public statements from the Secretary of State’s office, as of January

14, 2022, pursuant to the New Voter Purge Program, 2,327 of the over 11,000 registered voters

flagged as potential non-U.S. citizens have had their voter registrations canceled. However, the

Secretary of State confirmed only 278 voters as non-U.S. citizens.1

    B. Plaintiffs’ Requests for Records Pursuant to the NVRA

          i.      Plaintiffs’ August 27 Request

       35.        On August 27, 2021, pursuant to the NVRA, 52 U.S.C. § 20507(i)(1), and to

determine whether Texas’s New Voter Purge Program is properly maintaining registration for all

eligible applicants and complying with the terms of the 2019 Settlement Agreement, several of the

plaintiff organizations sent a letter via email and United States Postal Service to DEFENDANT

SCOTT requesting documents concerning the State’s efforts to ensure the accuracy and currency

of its voter registration rolls (“August 27 Request”). The request specifically and solely sought:

                  The list of all 11,197 registrants [the Secretary of State’s] office
                  identified as potential non-U.S. citizens, including the date each
                  individual registered to vote, the effective date of each individual’s
                  voter registration; the date each individual provided documentation
                  to DPS; the issuance date of each individual’s current driver’s
                  license or personal identification; the documents provided to DPS
                  showing proof of lawful presence but not U.S. citizenship; and the
                  voting history of each of these individuals.




1
  Acacia Coronado, Paul Weber, and Nicholas Riccardi, New Texas Voting Law Snags US Citizens,
Mail Ballot Requests, AP NEWS (Jan. 14, 2022), https://apnews.com/article/voting-rights-austin-
texas-voting-legislature-f6bca0efd177745538e0c08aca796fb0.


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       36.     On September 14, 2021, DEFENDANT SCOTT responded (“September 14

Letter”) and stated that he would treat the August 27 Request as a request for information under

the Texas Public Information Act, Chapter 552 of the Texas Government Code (the “PIA”), citing

Tex. Att’y Gen. Open Records Letter No. 2004-4095 at 2 (May 18, 2004), Tex. Att’y Gen. Open

Records Letter No. 2019-18243 at 2 (July 2, 2019), and Tex. Gov’t Code §§ 552.002, 552.003.

       37.     On October 20, 2021, PLAINTIFFS provided DEFENDANT SCOTT notice via

email and United States Postal Service and pursuant to 52 U.S.C. § 20510(b) (“October 20 NVRA

Notice Letter”) that withholding the requested documents pursuant to Texas state law violated 52

U.S.C. § 20507(i)(1), and that if the violation was not corrected within 90 days, PLAINTIFFS

were entitled to file suit in federal court to obtain the requested documents.

       38.     In their October 20 NVRA Notice Letter, PLAINTIFFS reiterated that the request

was pursuant to federal law, not state law. PLAINTIFFS explained that the NVRA requires

DEFENDANT SCOTT to produce “all records concerning the implementation of programs and

activities conducted for the purpose of ensuring the accuracy and currency of official lists of

eligible voters,” citing 52 U.S.C. § 20507(i)(1). PLAINTIFFS further explained that the NVRA

does not permit DEFENDANT SCOTT to withhold documents from public scrutiny on the basis

of exceptions to a Texas statute not invoked in the request.

       39.     On November 3, 2021, DEFENDANT SCOTT replied (“November 3 Letter”) and

reiterated his intent to treat PLAINTIFFS’ August 27 Request as one made under the Texas PIA.

DEFENDANT SCOTT asserted that the Requested Records were protected from disclosure under

Chapter 552 of the Texas Government Code and indicated his intention to seek a decision from

the Texas Attorney General as to whether to withhold the Requested Records.




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       40.       DEFENDANT SCOTT has failed to produce any of the Requested Records in

response to PLAINTIFFS’ August 27 Request, in violation of the NVRA.

         ii.     Plaintiffs’ October 20 Request

       41.       On September 14, 2021, DEFENDANT SCOTT sent a second letter to

PLAINTIFFS, pursuant to the 2019 Settlement Agreement, stating that DEFENDANT SCOTT

had begun sending data identifying registered voters as potential non-U.S. citizens to county voter

registrars and elections administrators on a weekly basis, and that in the first three weeks of this

program DEFENDANT SCOTT had identified an additional 49 registered voters as potential non-

U.S. citizens.

       42.       Pursuant to the NVRA, 52 U.S.C. § 20507(i)(1), PLAINTIFFS sent a new records

request letter via email and United States Postal Service to DEFENDANT SCOTT on October 20,

2021 (“October 20 Request”) seeking the list of the additional 49 registrants the Secretary of

State’s office identified as potential non-U.S. citizens, including:

                 The date each individual registered to vote, the effective date of each
                 individual’s voter registration; the date each individual provided
                 documentation to DPS; the issuance date of each individual’s
                 current driver’s license or personal identification; the documents
                 provided to DPS showing proof of lawful presence but not U.S.
                 citizenship; and the voting history of each of these individuals.

       43.       On November 3, 2021, DEFENDANT SCOTT responded that he would treat the

October 20 Request as a request for information made under Texas’s PIA.

       44.       On November 15, 2021, PLAINTIFFS replied via email and United States Postal

Service and gave notice pursuant to 52 U.S.C. § 20510(b) (“November 15 NVRA Notice Letter”)

that withholding documents sought in the October 20 Request violated 52 U.S.C. § 20507(i)(1),

and that if the violation was not corrected within 90 days, PLAINTIFFS were entitled to file suit

in federal court to obtain the requested documents.



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       45.      The NVRA requires states to correct NVRA violations “within 20 days after receipt

of the notice if the violation occurred within 120 days before the date of an election for Federal

office.” 52 U.S.C. § 20510(b)(2).

       46.      Texas will hold its partisan primary elections for U.S. Representatives on March 1,

2022. DEFENDANT SCOTT’s NVRA violation is ongoing. More than 20 days have elapsed since

PLAINTIFFS gave notice of this violation.

       47.      DEFENDANT SCOTT has failed to produce any of the Requested Records in

response to PLAINTIFFS’ October 20 Request, in violation of the NVRA.

   C. Plaintiffs are Entitled to Sue for Relief from Defendant’s NVRA Violations

       48.      Pursuant to the NVRA’s Public Disclosure Provision, the State must maintain such

“records concerning the implementation of programs and activities conducted for the purpose of

ensuring the accuracy and currency of official lists of eligible voters” for a minimum of two years.

52 U.S.C. § 20507(i)(1). The State must also make the records available for public inspection. Id.

       49.      PLAINTIFFS have requested records concerning DEFENDANT SCOTT’s

implementation of programs and activities for identifying registered voters who are ineligible to

vote because they are not U.S. citizens.

       50.      DEFENDANT SCOTT’s refusal to make the Requested Records available to

PLAINTIFFS violates the NVRA’s Public Disclosure Provision. DEFENDANT SCOTT’s refusal

prevents PLAINTIFFS from monitoring Texas’s compliance with the NVRA and frustrates the

NVRA’s stated purpose of ensuring effective, accurate, and non-discriminatory voter registration

practices.

       51.      As outlined above and in compliance with Section 11(b) of the NVRA,

PLAINTIFFS notified DEFENDANT SCOTT on October 20, 2021 that his refusal to produce the




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Requested Records in response to PLAINTIFFS’ August 27 Request violated the NVRA.

PLAINTIFFS further notified DEFENDANT SCOTT on November 15, 2021 that his refusal to

produce the Requested Records in response to PLAINTIFFS’ October 20 Request violated the

NVRA.

       52.     More than 90 days have elapsed since PLAINTIFFS provided DEFENDANT

SCOTT written notice of the violation with respect to the August 27 Request.

       53.     More than 20 days have elapsed since PLAINTIFFS provided DEFENDANT

SCOTT written notice of the violation with respect to the October 20 Request. That violation is

ongoing and within 120 days of Texas’s upcoming elections for federal office.

       54.     To date, DEFENDANT SCOTT has not produced any records in response to

PLAINTIFFS’ August 27 Request or PLAINTIFFS’ October 20 Request.

       55.     DEFENDANT SCOTT has therefore failed to correct the NVRA violations

identified in PLAINTIFFS’ October 20 NVRA Notice Letter and PLAINTIFFS’ November 15

NVRA Notice Letter. 52 U.S.C. § 20510(b)(2).

                                    CAUSE OF ACTION

             Violation of the National Voter Registration Act, 52 U.S.C. § 20501 et seq.
                               (All Plaintiffs against Defendant Scott)

       56.     PLAINTIFFS re-allege, as though fully set forth in this paragraph, all the

allegations of this Complaint.

       57.     The information sought in the August 27 Request and the October 20 Request is

within the possession, custody, and control of DEFENDANT SCOTT.

       58.     The NVRA’s Public Disclosure Provision requires that “records concerning the

implementation of programs and activities conducted for the purpose of ensuring the accuracy and




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currency of official lists of eligible voters,” such as those requested by PLAINTIFFS, be made

available to the public for inspection and, where available, copying. 52 U.S.C. § 20507(i)(1).

       59.     PLAINTIFFS complied with the NVRA’s notice requirement by providing

DEFENDANT SCOTT written notice of the violation, but he has failed to correct the violation

within the notice period set forth in Section 11(b) of the NVRA.

       60.     DEFENDANT SCOTT has violated, and continues to violate, the NVRA by

refusing to make the Requested Records available for inspection within the meaning of the statute.

                                       REQUEST FOR RELIEF

       WHEREFORE, PLAINTIFFS respectfully request that the Court enter judgment in their
favor and:

       A.      Declare that DEFENDANT SCOTT is in violation of the NVRA by refusing to

make the Requested Records (as described herein) available for inspection and copying;

       B.      Order DEFENDANT SCOTT to provide PLAINTIFFS with electronic copies of

the Requested Records within ten (10) days of the Court’s judgment in favor of PLAINTIFFS;

       C.      Retain jurisdiction over this matter to ensure DEFENDANT SCOTT’s compliance

with his obligations to produce the Requested Records pursuant to the Court’s Order and the

NVRA;

       D.      Award PLAINTIFFS their reasonable costs and attorneys’ fees incurred in bringing

this suit pursuant to 52 U.S.C. § 20510(c); and

       E.      Grant any and all other relief this Court deems just and proper.


This the 1st day of February, 2022.
                                                   Respectfully submitted,

                                                   By: /s/ Nina Perales
                                                   Nina Perales (TX Bar No. 24005046)
                                                   Fatima Menendez (TX Bar No. 24090260)



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                                                  MEXICAN AMERICAN LEGAL DEFENSE
                                                      AND EDUCATIONAL FUND
                                                  110 Broadway, Suite 300
                                                  San Antonio, TX 78205
                                                  T: (210) 224-5476
                                                  F: (210) 224-5382
                                                  nperales@MALDEF.org
                                                  fmenendez@MALDEF.org

                                                  Rosa Saavedra Vanacore*
                                                  MEXICAN AMERICAN LEGAL DEFENSE
                                                      AND EDUCATIONAL FUND
                                                  1016 16th Street, NW, Suite 100
                                                  Washington, DC 20036
                                                  T: (202) 293-2828
                                                  F: (202) 293-2849
                                                  rsaavedra@MALDEF.org
                                                  *Motion for pro hac vice forthcoming

                                                  Counsel for Plaintiff Mexican American Legal
                                                     Defense and Educational Fund, Inc.

By: /s/ Thomas Buser-Clancy                        By: /s/ Chad W. Dunn
Thomas Buser-Clancy (TX Bar No.                    Chad W. Dunn (TX Bar No. 24036507)
    24078344)                                      BRAZIL & DUNN, LLP
Andre Segura (TX Bar No. 24107112)                 4407 Bee Caves Road, Suite 111
Ashley Harris (TX Bar No. 24123238)                Austin, TX 78746
AMERICAN CIVIL LIBERTIES UNION                     T: (512) 717-9822
    FOUNDATION OF TEXAS                            F: (512) 515-9355
5225 Katy Freeway, Suite 350                       chad@brazilanddunn.com
Houston, TX 77007
T: (713) 942-8146                                  Danielle Lang*
F: (915) 642-6752                                  Alice Huling *
tbuser-clancy@aclutx.org                           Molly Danahy*
asegura@aclutx.org                                 Caleb Jackson*
aharris@aclutx.org                                 CAMPAIGN LEGAL CENTER
                                                   1101 14th St. NW, Suite 400
Counsel for Plaintiff American Civil Liberties     Washington, DC 20005
  Union Foundation of Texas                        T: (202) 736-2200
                                                   dlang@campaignlegalcenter.org
                                                   ahuling@campaignlegalcenter.org
                                                   mdanahy@campaignlegalcenter.org
                                                   cjackson@campaignlegalcenter.org
                                                   *Motions for pro hac vice forthcoming

                                                   Counsel for Plaintiff Campaign Legal Center



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By: /s/ Lindsey B. Cohan
Lindsey B. Cohan (TX Bar No. 24083903)
DECHERT LLP
515 Congress Ave., Suite 1400
Austin, TX 78701
T: (512) 394-3000
lindsey.cohan@dechert.com

Neil Steiner*
DECHERT LLP
1095 Avenue of the Americas
New York, NY 10036
T: (212) 698-3822
neil.steiner@dechert.com
*Motion for pro hac vice forthcoming

Counsel for Plaintiffs Lawyers’ Committee
   for Civil Rights Under Law and Dēmos:
   A Network for Ideas and Action, Ltd.


Ezra Rosenberg*                              Brenda Wright*
Pooja Chaudhuri*                             DĒMOS: A NETWORK FOR IDEAS AND
LAWYERS’ COMMITTEE FOR CIVIL                    ACTION, LTD.
   RIGHTS UNDER LAW                          80 Broad Street, 4th Floor
1500 K Street NW, Suite 900                  New York, NY 10004
Washington, DC 20005                         bwright@demos.org
erosenberg@lawyerscommittee.org              *Motion for pro hac vice forthcoming
pchaudhuri@lawyerscommittee.org
*Motions for pro hac vice forthcoming        Counsel for Plaintiff Dēmos: A Network for
                                                Ideas and Action, Ltd.
Counsel for Plaintiff Lawyers’ Committee
   for Civil Rights Under Law




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